AO 257 (Rev. 6/78)
                                                                                              idl.
          DEFENDANT INFORMATI                                     LATIVE to A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY: •          COMPLAINT          •    INFORMATION                INDICTMENT                             Name of District Court, and/or Judge/Magistrate Location

                                                                  SUPERSEDING                               NORTHERN DISTRICT OF CALIFORNIA
                OFFENSE CHARGED
                                                                                                                          SAN JOSE DIVISION
 18    U.S.C.§ 1962(d) (Counti);                                        •     Petty
 18    U.S.C. § 1959(a)(5) (Counts 2,6,7);
 18    U.S.C.§ 1959(a)(1) (Count 3);                                    I I Minor            —    DEFENDANT-U.S
 18    U.S.C. § 19S9(a)(3) (Counts 8 and 9);
                                                                              Misde
 18    U.S.C. § 924(c) (Counts 4,10); and
 18U.S.C.§924(j) (Count 5)
                                                                        •     meanor             ^ KRISTOPHER PURCELL aka "K-DAWG"
                                                                              Felony
                                                                                                      DISTRICT COURT NUMBER
PENALTY:          See attached.
                                                                                                      5:18-CR-506-BLF
                  Plus: forfeiture allegations included in Indictment and possible
                  immigration consequences.

                                                                                                                                DEFEND

                                  PROCEEDING                                                            IS A/orIN CUSTODY                                 <2^^-
  Name of Complaintant Agency, or Person (& Title, if any)
                                                                                                          Has not been arrested, pending outcome this pSg^ding.
                                                                                                 1) Q If not detained give date any prior                .          ^
                                                                                                          summons was served on above charges ^
       Federal Bureau of Investigation, Special Agent Brian Walsh
          person is awaiting trial in another Federal or State Court,                            2) Q Is a Fugitive
  •       give name of court
                                                                                                 3) Qj Is on Bail or Releasefrom (show District)

          this person/proceeding is transferred from another district
   •      per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                        IS IN CUSTODY

                                                                                                 4)       On this charge
          this Is a reprosecution of
          charges previously dismissed                                                           5) I I On another conviction              T
   •      which were dismissed on motion                               SHOW
                                                                                                                                            f D               n
          of:                                                      DOCKET NO.
                                                                                                 6) Q Awaiting trial on other charges
           •     U.S. ATTORNEY         Q DEFENSE
                                                            }                                              If answer to (6) is "Yes", show name of institution

          this prosecution relates to a                                                                                                  If "Yes"
          pending case involving this same                                                            Hasdetainer CH
          defendant                                                MAGISTRATE
                                                                     CASE NO.
                                                                                                      been filed?
                                                                                                                     •   No         }    give date
                                                                                                                                         filed

                                                                                                      DATE OF                     Month/Day/Year
          prior proceedings or appearance(s)                                                                        I
   I I before U.S. Magistrate regarding this
          defendant were recorded under                     }                                         ARREST                          10/12/2018

                                                                                                      Or... if Arresting Agency & Warrant were not

Name and Office of Person                                                                             DATE TRANSFERRED                           Month/Day/Year
Furnishing Information on this form                         ALEX G.TSE                                TO U.S. CUSTODY

                                      U.S. Attorney Q Other U.S. Agency
Name of Assistant U.S.                                                                                     This report amends AO 257 previously submitted
Attorney (if assigned)                         AUSA GRIFFIN

                                                           ADDITIONAL INFORMATION OR COMMENTS
   PROCESS:

           • SUMMONS                   NO PROCESS* • WARRANT                           Bail Amount:

           If Summons, complete following:
           [^Arraignment Q Initial Appearance                                          • Where defendant previously apprehended on complaint, no new summons or
                                                                                       warrant needed, since Magistrate has scheduled arraignment
           Defendant Address:

                                                                                       Date/Time:                                    Before Judge:

           Comments:
